Case 2:05-cr-20250-SH|\/| Document 28 Filed 07/20/05 Page 1 of 2 Page|D 30

m THE UNITED sTATEs DISTRICT CoURT Fim ;Om’ D-C-
FOR THE WESTERN DIsTRiCT or TENNESSEE

 

 
 

WESTERN DIVISION 95 JUL 39 AN ||= 26
UNITED sTATEs oF AMERICA “'“T ` ` ""-‘CT COURT
1 1 111§1,1@1~115

V. 05-20250-01-Ml

DELOIS HARRIS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on W 24 2 00 b, the United States Attorney

for this district appeared on behalf of the go@dmm@{, and the defendant appeared in person and with
counsel:

NAME 724 / Ma»¢/G /Ejé(z/‘ J C`J_.A who is Retainedeppointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal pri soner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

w /(. @J¢'Mr

UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age: 30

Thls document entered on the docket 359/a ln cb:?lianca
with Flule 55 and/or 32{':)) FRCrP on z

 

    

 

   

UNITD sATES ISTRIC COURT - WETERN DISITRCT OF TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20250 was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

